                              Case 24-00090-ELG Doc 61-2 Filed 06/25/24 Entered 06/25/24 22:30:45                                                           Desc
                                          Exhibit B - Classification of Creditor Claims Page 1 of 1

Class   Claim                 Claimant                    Amount        Secured Sum      Priority Sum      Unsecured Non-Priority Sum     Amount Paid at Closing     Sum Debtor Asserts to be Due
  1       1     DC Gov't Office of Tax and Revenue        $681,314.63       $36,572.69             $0.00                    $644,741.94                      $0.00                      $681,314.63
  2       1     DC Gov't Office of Tax and Revenue        $681,314.63            $0.00      $106,924.27                     $574,390.36                      $0.00                      $681,314.63
  3       2     Yellow Breeches Capital LLC             $3,926,915.12            $0.00             $0.00                  $3,926,915.12             $2,168,329.62                     $1,758,585.50
  3       3     Pepco                                         $402.09            $0.00             $0.00                        $402.09                      $0.00                          $402.09
  2       4     Internal Revenue Service                   $65,539.16            $0.00       $40,992.35                      $24,546.81                      $0.00                       $15,566.00
  3       5     Pepco                                       $5,368.32            $0.00             $0.00                      $5,368.32                      $0.00                        $5,368.32
  3       6     United Bank                             $3,668,918.54            $0.00             $0.00                  $3,668,918.54             $3,824,464.02                              $0.00
  3      n/a    AK Fire Protection Inc.                       $500.00            $0.00             $0.00                        $500.00                      $0.00                          $500.00
  3      n/a    Atlantic Seafood International Group, Inc. $24,455.00            $0.00             $0.00                     $24,455.00                      $0.00                       $24,455.00
  3      n/a    DC Water & Sewer Authority                  $3,000.00            $0.00             $0.00                      $3,000.00                      $0.00                             $0.00
  3      n/a    Five Star Noodles                             $180.00            $0.00             $0.00                        $180.00                      $0.00                          $180.00
  3      n/a    KMG Hauling Inc.                              $446.00            $0.00             $0.00                        $446.00                      $0.00                          $446.00
  3      n/a    Rice Noodle House LLC                         $800.00            $0.00             $0.00                        $800.00                      $0.00                          $800.00
  3      n/a    Solid Gold, Inc.                           $30,000.00            $0.00             $0.00                     $30,000.00                      $0.00                       $30,000.00
  3      n/a    Virginia Linen Service, Inc.                $2,500.00            $0.00             $0.00                      $2,500.00                      $0.00                        $2,500.00
  3      n/a    Washington Gas                              $6,000.00            $0.00             $0.00                      $6,000.00                      $0.00                        $6,000.00
